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SCHEDULE A

particulars of Litigation

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SCHEDULE B

Regional Price schedule

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SCHEDULE B.

License Cost is an Average price with each region balanced as & percentage of
that amount This Schedule is to be updated on September 1, 1992 and annually

thereafter.

STUDENT ENROLMENT _

WH feet

$15,500

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STUDENT ENROLLMENT
$16,500 $18,000 $18,750 __
90% 50% 90%
90% 90% 50% .
90% 90% 9%
100% 100% 100%
100% 100% 100%6
100% 100% 100%
85% 85% 35%
100% 100% 100%,
110% 10% | _ 110%
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* STUDENT ENROLLMENT

ICENSE COST | $19,500 To be determined
REGION’
NORTHEAST 90%
MID-ATLANTIC 90%

NEW ENGLAND 90%
MIDWEST 100%
NORTHWEST 100%
MID-PACIFIC 100%
SOUTHWEST 100%

. Texas 85%
= . |: 100%
a 4 - 110%

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SCHEDULES

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SCHEDULE C ;

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Complete User List
Abbotsford School District #34 Albuquerque Public Schools
31759 King 1700 P
V2zr 4M7 Albuquerque, NM. $7110
CANADA Larty
Jerry i Manager
Manager . (505) 294-1522 .
(604) 859-4891 Total Students: 85,000
Total Students: 15,000 Square Miles: N/A
Square Miles: N/A Implemented: 1990
Implemented: 1990
. Alief Independent School District
Adains County School District #12 P.O. Box 68
(Northglenn-Thornton) TX Ti4i1
414 144th Avenue Louis B. Stoerner
Bi co Assistant
- Virginia Stanek (713) 498-8110
sve Director Total Students: 78,000
(303) 452-6553 Square Miles: N/A
_ Total Students: 20,600. Implemented: ‘1
Square 65 - -
Implemented: 1988 Alvin Independent School District
605 West House
School District #10 Alvin, TX 77511
4690 Roger S . Jol Ralph
Port Alberni, VOY 3ZA Director
Ernie (713) 585-3701
T Manager Total Students:
(604) 723-3565 Square
Total Students: 6,041 _ Tmuplemented: N/A
Square Miles: A.
Implemented: 1991
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Page 2
Anchorage School District Appleton Area School District
3580 Hast Tudor Road 120 Bast Harris
Anchorage, AK 99507 Appleton, WI 54911

J. Steven Kalmes Jim Schwaller
Director, Transportation/ Data Processing Coordinator
Vehicle Maintenance (414) §32-6109
(907) 563+ Total Students: 13,000
Total Students: 40,000 Square Miles: N/A
Square Miles: NIA Implemented: 1990
Implemented: 1983
‘Arlington Independent School District
Community School Corporation 1203 West Pioneer Parkway
30 West Lith Street TX 76013
Andersson, IN 46016 Mr. W.J. Winter
_ Mary Aun Vaught Director of
Assistant Director of Transportation (817) 459-7809
. (317) 641-2024 Total Students:
Total Students: 13,000 Square Miles: N/A.
Square Miles: Implemented: 1990
Implemented: 1989
Aurora Public Schools
Anoks-Hemnepin LSD. #11 #28))
11299 Hanson Boulevard N-W. 90 Buckley Road.
MN 55433 ‘Aurora, CO 80011
Chuck Holden August Campbell
Director of Transportation Director of Transportation
(612) 422-5606 (303) 344-8060
Total Students: Total Students: 25,700
Square Miles: NA Square Miles: N/A meee
Implemented: 1991 Implemented: 1988
Anthony Wayne Local School District Avon Lake City Schools
11012 Shepler Avenue 175 Avon Belden Road
Whitehouse, OH 43571 Avon Lake, OH 44012
Leonard Kleiniein Erik Helgesen
tation Director Director of Busi

: (419) 877-0451 (216) 933-7328
Total Students: 3,500 Total Students:

"Square Miles: N/A Square Miles: N/A
Implemented: 1990 Tmplemented: N/A

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Square Miles: N/A
Implemented: NIA

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EDULOG— Complete User List CONFIDENTIAL Page 4
Bedford School District pemidji School District #51
School Administration Unit 26 201 - 15th Street N-W.
470 South River Road Bemidji, MN 56601
Bedford, NH 03102 Doyle Tomhavs
Coordinator (218) 759-3108
(603) 472-5447 Total Students:
Total Students: 5,500 _ gquare Miles: 1,000
Implemented: 1989
: Berkeley County Public Schools
Bellevue School District #405 41 South Queen Street
42025 NB. Sth Street i wy 25401
Bellevue, WA 98005 Dr. Janice Christopher
of Transportation (304) 267-3500 |
455-6128 Total Students: NA
Total Students: 14,500 Square NIA
Square 40 Implemented: NA
Big Walnut Local Schools
exe Community Unit P.O. Box
School District #100 Sunbury, O 43074 °
1201 Sth Avenue Mike Crader
TL 61008 Assistant
Cheryl Dougias (614) 965-2106
Assistant Bus Manager Total Students: N/
(815) 544-0301 . Square Miles: N/A
Total Students: 4,600 Implemented: NIA
Square Miles: NIA
Implemented: NA - Billings School District #2
1201 2nd Avemic North
Billings, MT 59101-2619
Bob Marsh
Director
255-3575
Total Students: 18,000
Square Miles:
Implemse: 1990

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EDULOG— Complete User List CONFIDENTIAL.

PageS
Binghampton BOCES Bloomington Public Schools LS.D. #271 -
South Tier Reg. Comp. Center 3900 Portland Avenus South
Browne-Deleware-Tioga BOCES Bloomington, MN 55420
421 Upper Glenwood Road Jan Dittbrenner
Binghampton, NY 13905 , Supervisor of Transportation

William Tomie , " (612) 887-9109 ,

Dir. of Computer Operations Total Students: 11,350

(607) 729-9301 . Square Miles: N/A
Total Students: N/A Implemented: 1990
Square Miles: N/A
Implemented: N/A Boulder Valley Public Schools ,

6500 East Arapahoe Road ‘
Birdville Independent School District Boulder, CO 80302
6125 East Belknap Street Pat Sandham
Fort Worth, TX 76117 ‘Transportation Supervisor

Dr. Richard Whitney (303) 447-1010 ext. 482

Director of Information Systems Total Students: 21,000

(817) 831-5892 Square Miles: N/A.

Total Students: 17 Implemented: 1986
Square Miles: N/A
Implemented: N/A Bridgeport:
Community School District
Birmingham Public Schools 3878 Sherman Street. -
7125 East Lincoln Bridgeport, MI 48722
B MI 48008 Judy Pretzer
Joseph F. Griffin Transportation Supervisor

Director (517) TT1-4820

(313).644-0102 ‘Total Students: NA

Total Students: 7,400 ' " Square Miles: N/A
Miles: 50 Implemented: N/A
Implemented: 1985
Brookfield Public Schools
100 Pocono Road
Brookfield, CT 06804
Dave Minnich
Business Manager
(203) 775-1448
_ Total Students: NIA
Square Miles: N/A.

Implemented: N/A

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Brookville Local Schools
4151 Brown Street
Brookville, OH 45309

Butte, MT 59701
- Cliff Steel .
Manager of Transportation
(406) 723-4371
Total Students: N/A
Square Miles: N/A.
Implemented: NIA

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Canton City Schools
617 McKinley Avenue S.W.
Canton, OH 44707

‘Brad Adkins .

‘Transportation Dep’

(216) 438-2507 ext. 624
Total Students: N/A
Square Miles: N/A
Implemented: NIA

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(TLT) 732-8400

Dan Lehman
Coordinator of Transportation
(T1T) 545-4703
Total Students: 8,700
Square Miles. N/A
Implemented: 1986

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EDULOG— Complete User List

City of Chicago School District #299
1819 W. Pershing Road

- 6th Floor, West Building .
Chicago, IL 60609

Chico Unified School District
- 1163 East 7th Street
Chico, CA 95926 —
Craig T. Biasca
Data Processing Supervisor
(916) 891-3023
Total Students: 12,000

Box 337

Highway 191 & Navajo, Route 7

Chinle, AZ 86503-337
Anthony Towne
(602) 674-9400

Total Students: 3,378

Square Miles: N/A

Implemented: 1989.

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EDULOG— Complete User List CONFIDENTIAL Page 9 |
_ Clark County Public Schools © * Cleveland Public Schools
175 Alexander Street , 3832 Ridge Road — ~
Athens, GA. 30610-1299 . Cleveland, OH 44114 ,
Robert Millians Dave Adams - .
Admin. of Pupil Transportation Routing Manager
(404) 548-6971 - (216) 634-7028
Total Students: 10,500 Total Students: 72,000
Square Miles: N/A Square Miles: 190
Implemented: 1989 Implemented: 1991
Clarkstown Central School District Clovis Unified School District
30 Parrott Road 55 Shaw Avenue, Suite 217
West Nyack, NY 10994 Clovis, CA 93612
Robert Alexander Joe Bjerke
Transportation Supervisor Director
(914) 634-6467 . (209) 297-4000
Total Students: N/A Total Students: 22,500
Square Miles: N/A Square Miles: N/A.
Implemented: N/A Implemented: N/A
Clarksville-Montgomery County , Cobb County. Public Schools
School System 620 South Cobb Drive
2620 41A. . Marietta, GA. 30060
Clarksville, IN 37043 . Cariton Allen
Joe D. Haley , Associate Director of Transportation
Supervisor of ‘Transportation, (404) 426-3535
- (615) 358-9465. Mr. Carroll Pitts
-~ ‘Total Students: 15,000. Director-of Transportation __.
Square Miles: 500 , * (404) 426-3333
Implemented: 1989 Lo -: Total Students: 69,000
Square Miles: N/A
Clayton County Public Schools Implemented: 1985
120 Smith Street
Jonesboro, GA. 30236
David Butler
Administrative Assistant for MIS
(404) 473-2825 -
Total Students: 35,000
Square Miles: N/A
Implemented: N/A

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_ (219) 875-6577
Total Students: 3,500
Square Miles: N/A
Implemented: 1989

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Connetquot Central
School District of Islip 1

780 Ocean Avenus
Bohemia, NY 11716

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| EDULOG—Complete User List CONFIDENTIAL Page 1
Cumberland Valley School District Decatur Township ,
6746 Carlish Metropolitan School District
icsburg, PA 17055 71523 Mooresville Road
Chuck Snively West Newton, IN 46183
(717) 697-8261 Transportation Supervisor
Total Students: 1, . (317) 856-8060
Square Miles: 102 Total Students: 5,200
Implemented: 1991 Square Miles:
Implemented: NA
Dalto
100 oe Se Hamilton Street Deer Valley Unified School District #97
Dalton, 30722 20402 North 15th Avenue
Johnny Bridges Phoenix, AZ $5027
¢ of Faces © om Coordinator
(404) 218-7866 — 1
Total Students: 4, (602) 581-7741
Square Miles: NA Total Students: 1D,
Implemented: 1991 © Square Miles:
og Implemented: 1989
Davis County School District
Box 1209, Building F2 Oe anit City Schools
Freeport . Street
Farmington, UT 34016 Defiance, OH. 43512
A. Jack Graviet . O.C. Beindorf
Director of Transportation Dir. of Trans/Personnel
(B01) 774-7479... (419) 782-0070
Total Students: Total Students: NA ,
Square Miles: N/A - Square Miles: N/A
Tmplemenited: 1989 Implemented: NIA
"Decatur School District #61
101 West Cerro Gordo
Decatur, IL
Larry Reed
Coordinator of Day-to-Day Data
(217) 424-3087
Total Students: 14,
Square Miles: 44
Implemented: 1990

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EDULOG— Complete User List CONFIDENTIAL Page 12 te
Delaware Dept. of Public Instraction Des Moines Public Schools
P.O. Box 1402 1800 Grand Avenus
Dover, DE 19903 Des Moines, 1A 50307-3382

Harien “Ted” Tall Dr. Don Prine
State Director of Trans. Director of Transportation
302) 739-4697 (515) 242-7884
Total Students: N/A Total Students: 3
Square Miles: N/A Square Miles: N/A
Implemented: NIA Implemented: 1990
Complete Implemesation of every district .
in the state Detroit Public Schools
8145 Greenfield
Denton Independent School District Detroit, MI 48202
‘Denton, TX 76201 Director of Transportation
Gene Holloway (313) 849-2422
Supervisor of Transportation Total Students: 170,000
(BIT) 387-346 square Miles: WA

‘Total Students: 10,000 Implemented: NA
Square NIA
Imp! s 1991 County S. D. Re. 1
2808 South State Highway
Derby Unified School District #260 Casile Rock, CO 80104
120 Bast Washington Chuck Lee
Derby, KS 67037 ion Director

Howard Bowle (303) 688-3315

Director of Operations Total Students: 11,100

(316) 788-8420 --" Square Miles: NIA
Total Students: 6,000 Implemented: 1991
Square Miles: A.
Implemented: 1990 Dublin City School District

John Deamer
Director of Special Projects
(912) 272-3440
Total Students: 3,600
Square Miles: NIA .
Implemented: 1990

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Dafferin-Peel Roman Catholic

East Meadow Union Free School District
Separate School Board Transportation Department
5685 Keaton Carman Avenus
Crescent, Mississauga, ON L5R 3H5 Bast Meadow, NY 11554
CANADA. Raymond Regan ext. 220
Rob Scott Dir. of Fac. Oper. & Trans.
Supervisor of ‘Transportation (516) 794-7000 ext.
(416) 890-5300 ext. 226 Total Students: 7,500 “
Total Students: 56,000 Square Miles: N/A
Square Miles: N/A Implemented: 1986
Implemented: 1987

601 Camp Craft Road Eden Prairie, 55344
Anstin, TX 78746 Rese Linden
David Bolles ‘Transportation Director
Director of - (612) 937-3671 ext. 671
(512) 327-1197 Total Students: 7,000
Snare Miles: i ae 50
Square NIA Imp :
Implemented: 1990
ast Allen County School District 1101 East Schunior
4322 Green Road Edinburg, TX. 78539
New Haven, IN 46774 Jonas Ybarra
Floyd Place Director of Transportation
Director of Transportation (512) 383-2779
_ (219) 493-3761 ext.216 ‘Total Students: 6,000 .
_ ° Total Students: 12,000 Square Miles: N/A
Square Miles: 250 Implemented: 1989
Implemented: 1989
East China Schools
1585 Meisner Road
Marine City, MI 48039
Larry Aspenleiter
‘Transportation Director
(313) 765-5422 or 9701 |
Total Students: N/A
Square Miles: N/A
Implemented: 1991
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Educational Service Dist. #101

West 1025 Indiana Averus

Spokane, WA, 99205-4562
Dick Caldwell

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(QW
Hik Grove Unified School District

8820 Elk Grove Blvd. “-
Blk Grove, CA 95624

Business Manager
(216) 324-7500
Total Students: N/A
Square Miles: N/A
Implemented: N/A

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Euclid City Schools Fontana Unified School District
651 Bast Street 9820 Citrus Aveouc
Buciid, OH 44123 Fontana, CA 92335
Victor J. R. Wagner
Business Manager
(216) 261-2900 (714) 357-5210
‘Total Students: NA Total Students: 2/,
Square Miles: NJA Square NIA.
Implemented: NIA Implemented: 1988
Fairbanks North Star Borough School Forest Hills Local School District
District 7550 Forest
8th and Cushman Street 5255
¥ AK 99707-1250 Ron Yeager
Robert R.Shefchik Assistant Treasurer
i (513) 731-3600
(907) 452-2000 Total Students:
Total Students: 13, Square Miles: NWA
Square Miles: N/A. Implemented: N/A
Implemented; 1983
a ' Forest Hills Public Schools
Farmingdale Unified School District - 6001 Hall Street SB.
Van Cott and Grant Avenue Grand Rapids, Mi 49546
Farmingdale, NY 11735 Linda Schwartz
Bill Silymen
Supervisor (G16) 676-8931
(516) 752-6555 Total Students: 5,
Total Students: - Square
Square Miles: NIA Implemented: 1990
Implemented: 1988
, Fox Chapel Area School District
Fayette County School District 611 Field Club Road
210 Storiewall Avenue Pittsburgh, PA 15238
i 30214 Gil Damico
Pam Holt Dir. of Transportation
‘Transportation Specialist . (412) 963-9600
(404) 460-3520 Total Students: 3,300
Total Students: 12,500, -Square Miles: NIA
Square Miles: 200 — Implemented: 1990
Implemented: 1990

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EDULOG— Complete User List CONFIDENTIAL — Page 16
Framingham Public Schools Gaylord Community Schools
454 Water Street 615 South Elm Street
Framingham, 01701 MI
William Manning Stan Pearson
Director Director
(508) 626-9179 (517) 732-6402 ext. 137
Total Students: 7,3) Total Students: Ni.
Square Miles: - Square Miles: N/A
Implemented: 1990 Implemented: NIA
School District #145 “Germany”
501 East South Street Motor Transport Branch, DOL
Freeport, IL 61032 USMC, Giessen
Dan Casing
istant for Business Joachim Jobst
(815) 235-4151. Asst. Trans.
Total Students: 4,900 ()11-09-0641-402-764
Square Miles: N/A Total Students: N/A
Implemented: N/A Square Miles: NA
. Implemented: N/A
Freeport Union Free 8. D.
i Glynn County Schools
235 North Ocean Avenue - P.O. Box 1677
Freeport, NY 11520 Brunswick, GA 31521
Ken Brown Howard Mann
Administrative Assistant Director of Transportation
(516) 867-5220 (912) 267-4120
Total Students: 6,500 - ‘Total Students:
Square Miles: N/A Square Miles: ‘A
Implemented: 1988 Implemented: 1989
Fulton County Board of Education Goshen Community School Corporation
786 Cleveland Avenue S. W. 771 East Madison Street
Atlanta, GA. 30315 Goshen, IN 46526
Dr. James H. Fox,Jr. Max Flandt
i ent Transportation Director -
(404) 763-4587, (219) 533-8631
Total Students: 42,000 Total Students: 4,500
Square Miles: 420 , Square Miles: 36

Implemented: 1990 Implemented: 1980

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-EDULOG— Completa User List

Grand Blanc Community Schools
11920 South Saginaw Road
Grand Blanc, MI 48439
Tony Leonardo
Transportation Director

Total Students: 30000.

Ken Greiner
Director of Transportation
(801) 481-7137
Total Students: 90,000
Square Miles: N/A
Implemented: 1989

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HON

Greater Latrobe School District
410 Main Street
Latrobe, PA 15650

Stephan J. Bair

a ccistant . for Busi .
(412) 539-4200 or 4209 ext B

- Total Students: 5,000

(518) 861-6434

_ Total Students: NIA

Square Miles: N/A.
Implemented: 1990

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Gwinnett County Public Schools Harlingen Consolidated LS.D.
610 West Crogan Street 1409 East Harrison .
Lawrenceville, GA 30245 Harlingen, TX 78550
Ed Hampton Ishmal Parades
Director of Director
(404) (512) 423-2151
Total Students: 62,100 Total Students: 500
Square Miles: 440 , Square N/A
Implemented: 1991 Implemented: 1989
City of Hammond Schools Havestraw-Stoay Point School District
5721 Sohl Aveme 65 Chapel Street
Hammond, IN 46320 NY 10923
Michael Hriso Bernie Hughs
Supervisor of ‘Transportation ‘Transportation Coot.
(219) 933-2438 or 2A39 _ (914) 942-9700
Total Students; 13,500 Total Students: N/A.
Square Miles: 25 Square Miles: N/A
Implemented: 1990 Implemented: NIA
Hampton City School System Area School District
School Administration Center Church and Walnut Street
1819 Nickerson Bivd. . Hazleton, PA 18201 °
Hampton, VA 23663 Greg Cassano
Joe Hawkins of Transportation
Director of Transportation . (717) 459-3190
(804) 850-5200 m, Total Students: 10,027
Total Students: Square Miles:
Square Miles: 144 Implemented: 1990
Implemented: 1989 :
Hazelwood School District
Harborsfield Union Free School District 3306 Douglas Road
2 Oldfield Road Florissant, MO 63034
Greenlawn, 11704 Marvin Hahn
Joanne Grunner Business Manager
‘Transportation Supervisor (314) 921-4450
(516) 754-5301 Total Students: 17,000
Total Students: N/A Square Miles: 73
Square Miles: N/A Implemented: 1990
Implemented: 1990

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EDULOG—Complete User List

Total Students: NIA
Square Miles: N/A
Implemented: NIA.

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Humble Independent School District

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Huntsville Independent School District
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EDULOG— Complete User List CONFIDENTIAL Page 21

Indianapolis Public Schools __ Teving Independent School District
SCIPS Complex 901 O'Conner
901 North Carrollton Avenue Irving, TX 75061
lis, IN 46202 Whitcomb Johnstone

Frank LaCroix _ Director of Planning,

Director of i Evaluation & Research

(317) 226-4644... (214) 259-4575 ext. 201
Total Students: 50,000° Total Students: 21,200

Miles: Square
Implemented: 1990 . Implemented: 1989
Indian River Central School District Ithaca City School District
P.O. Box 308 . 150 Bostwick Road
13673 Ithaca, NY 14850
Supervisor Supervisor

(315) 642-0331 (607) 214-2128
Total Students: N/A Total Students: N/A
Square NIA Square Miles: NA
Implemented: NIA Implemented: N/A
Indian River County School District Jackson County Schools
4990 25th Street — : #1 School Street °
Vero Beach, FL 32960 Ripley, WV 25271

Kathleen Geyer - _ jack Parson

Director of Transportation Dir. of

( T10-5553 ... .. (304) 372-7320
Total Students: 12,000 Total Students: N/A.
Square Miles: 525 Square Miles: N/A
Implemented: 1990 Implemented: NA

~~” Jonta Public Schools Juneau School District

433 Union Street 10014 Crazy Horse Drive
lonia, MI Juneau, AK 99801

Greg King Patsy Wardrip

‘Transportation Director ° Facilities Coordinator

(616) §27-9280 . (907) 586-2303
Total Students: 3,000 Total Students: 4,750
Square Miles: 250 : Square Miles: N/A

Implemented: 1989 | . Implemented: 1986

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EDULOG — Complete User List

Kansas City School District
800 Bast 21st Street
Mrs. Pat Yancy
Director of Transportation
(816) 871-7825
Total Students: 36,500

(713) 578-2210or 2186
Total Students: 15,500

(313) 736-8000 ext. 350
Total Students: 3,500

Kennewick School District #17
200 South Dayton Street
Kennewick, WA 99336
Maurice Meilleur
Supv. of Comp. Services
(509) 736-2100
Total Students: 10,300
_ Square Miles: N/A
Implemented: 1991

CONFIDENTIAL

Kenosha Unified School District #1
3600 S2nd Street so
Kenosha, WI §3144-03402

Peter Parsons

‘Transportation

(414) 653-6392

. Total Students: 16,000

Square Miles: 160
Implemented: 1986

Kent School District #415
25211 104th Aveme Southeast

 Sitleem Independent School District

200 North W.S. Young Drive
Killeen, TX 76543
James R. Young
Director of Purchasing
(817) 526-8361
Total Students: N/A
Square Miles: N/A.
Implemented: NIA

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(216) 637-8741
Total Students: N/A
Square Miles: N/A
Implemented: N/A

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' CONFIDENTIAL Page 24

" .
(614) 687-7310
Total Students: NIA

_. Square Miles: N/A
-“Tmplemented: N/A

LaPorte Community School Corporation

1921 A Street

‘LaPorte, IN 46350

Jay Flick
ion Director
(219) 362-1023
Total Students: 6,500
Miles: N/A

Implemented: 1988

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Lawrence Union Free School District -
195 Broadway, Room 105...
Lawrence, NY 11559

Director of Transportation
(216) 759-7450

- Total Students: N/A.

Square Miles: N/A.

Implemented: N/A

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EDULOG—Completa User List CONFIDENTIAL Page 26

Livonia Public Schools Madison Metropolitan School District
45125 Road 545 West Dayton Street
48154-5474 i §3703
Charles R. Ritter operatio eens Gaffney
Assistant Director of ions
GB) 523-8825 : (608) 266-6270
Total Students: 12,000 Total See 22,000
Square Miles: A Square
Implemented: 1988 Implemented: 1991
Los Angeles County Office of Education Manichester Local School District
9525 Imperial Hwy, RM. 118 6075 Road
Downey, CA 902A2. Akron, OH 44319
reeector of SexviceS
Systems Specialist
(213) 803-8508 (216) 882-4157
Charies J. Devin - Total Students:
Officer Square Miles: N/A
(213) 803-8538 Implemented: NIA
cadents: 5,000
Suave Miles 740 a Public Schools
Implemented: 1990 Unified School District #383
oO 2031 Poyntz Avenue
Louisville City Schools 7 66502-3898
418 Bast Main Street John Mayberry a
Louisville, OF 44641 Director of Transportation
David Mancini . (913) 537-0963.
. Total Students: 6,500
(216) 875-9687 Miles: N/A
Total Students: N/A Implemented: 1990
Square Miles: A
Implemented: N/A Marion Schools
1240 South Adams Street
Marion, IN 46952
Arthur “Skip” Ackley
jon Supervisor
(317) 664-4237
Total Students:
Square Miles: NIA
Implemented: 1991
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EDULOG—Complete User List CONFIDENTIAL Page 27
(pw
Martinez Unified School District Michigan City Area Schools
921 Susana Street 1100 South Woodland Avenus
Martinez, CA. 94553 Michigan City, IN
Laird Newhart Joyce Stark
Consultant — Director of ‘Transportation
(415) 846-7007 (219) 873-2127
Total Students: 3,400 Total Students: 9,100
Square Miles: N/A Square Miles: 150
Implemented: 1990 Implemented: 1989
Mat-Su School District Middletown City School District
8C01 Box 6048, Room 1515 Girard Avene
Palmer, AK. 99645 Middletown, OH. 45044
Saundra C. Hutchins Joe Di Stacla .
Trans. Director of Personnel & Facilities
(907) 746-9530 (513) 423-0781
Total Students: 9,000 Total Students:
Square Miles: N/A. Square Miles: N/A
Implemented: 1990 Implemented: N/A
Medina Co: Board of Education Midview Local School District
144 N. Broadway Street 1097 Elm Street
Medina, OH 44256 Grafton, OH 44044. °
Jim Boyes . Al Gilder
(216) 723-6393 (216) 926-3737
Total Students: N/A Total Studénts: N/A.
Square Miles: N/A . Square Miles: N/A
Implemented: NIA . Implemented: NA °
Merced City Elementary School District Milford School District
444 West 23rd Street 06 Lakeview Avenue
Merced, CA. 95340- Milford, DB: 19963
Mike Smith Charlie Onusko
Data sing Manager rtation Supervisor
(209) 385-6708 . , ) 422-1600
Total Students: 11,400 Total Students: 3,100
Square Miles: N/A Square Miles: NIA.
Implemented: 1989 Implemented: 1988

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- Montgomery County Schools
Regional Center
1831 Harshman Road
John Herner
. .

Moreland Elementary School District
4710 Campbell Avenue
San Jose, CA. 95130
Kristine Sieben
‘Transportation Department:
(408) 379-1370
Total Students: 3,600
Square Miles: N/A
Implemented: 1991

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Morgan Hill Unified School District . New Rochelle City School District
105 Edes Court 515 North Avenue i
Morgan Hill, CA 95037 New Rochelle, NY 10801

Lucille Ball , Betty Doherty
‘Transportation Director
(408) 779-8322 (914) 576-4230
Total Students: 8,700 Total Students: N/A.
Square Miles: N/A Miles: N/A
Implemented: 1989 Implemented: N/A.
Mukilteo School District #6 Norman Public Schools
9401 Sharon Drive 1133 West Main
Everett, WA 98204 Norman, OK. 73069
Debbie Thompson Danny Lovett
T i Data Processing Manager
(206) 356-1306 (405) 321-5014
Total Students: 7,000 Total Students: 11,000
Square Miles: NIA Square Miles: NA
Implemented: 1989 ‘Implemented: 1990
Neshaminy School District North Allegheny School District
2001 Old Lincoln Highway 200 Hillbue Lane
Langhorme, PA 19047 ~ © Pittsburg, PA 15237 -
Beth Connolly Roger Botti .
Foreman ‘Transportation Manager
(215) 752-6313 ()-
Total Students: 10,000 Total Students: N/A
Square Miles: N/A- - Square Miles: N/A.
Implemented: 1988 Implemented: NIA
Newburgh City Schools
124 Grand Street
Newburgh, NY* 12550
Art Brewer
Director of Transportation
(914) 561-3232
Total Students: 11,000
Square Miles: N/A
Implemented: 1988
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North Carolina Institute for Moore Reidsville
‘Transportation Research and Education Rocky Mount Rowan .
1100 Navaho Dr.,2nd Floor New Hanover . Rutherford
Raleigh, NC 27609 Northampton Scotland

"Derek S. Graham Onslow . Stanly

Assistant Director "Orange Stokes
(919) 878-8080 ~ Chapel Hill Swain
Total Students: Pasquotank Union
Square Miles: N/A Pender Monrose
Implemented: N/A Perquimants Vance
Districts: Person Wake
Alamance Cabarrus Pitt Warren
Burlington Kannapolis Washington Wilson
Ashe Caldwell Watanga Yadkin
Beaisfort Caswell Wayne Yancey
Washington —- Hickory Goldsboro Wilkes
Bertis Newton
Bladen Chatham North Clackamas School District #12
Brunswick Cleveland 4444 SB Lake Road
Buncombe Kings Mtn. Milwankie, OR 97267
Asheville Shelby Buck Klemm
Columbus | Forsyth Director of Transportation
Whiteville Gaston (503) 653-3652
Craven Gates Total Students: 12,000
Camberland Guilford - Square Miles: N/A
Dare _'  Bigh Pout
Davidson. Halifx North Colonie Central School District
Thomasville Roanoke Rapids i Building - °
Davis Weldon’ Newtonville, NY 12128
Duplin Hamett . Robert Gara
Durham Handerson Business
Durham City Haywood (518) 785-8591
Iredell Polk Total Students: 4,
Mooresville Randolph Square Miles: N/A
Statesville Asheboro Implemented: 1988
Johnston Richmond
Jones Robeson
Lee Rockingham
McDowell Eden

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Northment City Schools

4001 Old Salem Road

Baglewood, OH 45322
Sharon Buttram
‘Transportation Supervisor

Total Students: N/A.
Square Miles: N/A
Implemented: NIA

North Olmsted City School District

(216) 327-4444
Total Students: N/A
Square Miles: N/A.
Implemented: N/A

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Northwest Local School District
3590 Eis Avenue North
Canal Fulton, OH 44614

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North York Board of Education
15 Oakburn Crescent
North York, ON M2N 215
CANADA
- Bill Zumpano
i of
ion Services
(416) 395-4409 ext. 8737
Total Students: 60,000

COANEINENTIAL

CONFIDENTIAL Page 32

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Oceanside City Unified School District
2111 Mission
Oceanside, CA 92054
John Farr - .
‘Transportation Director
(619) 757-2560
Total Students: 16,900
Square Miles: N/A
Implemented: 1990 ©

Ohio State Project (MCOECN)
7800 Columbus Rosd
Louisville, OH. 44641
Marshall Holmes
_ Project Coordinator
(216) 875-1431
Total Stadents: N/A
Square Miles: NA

Implemented: N/A
_ Districts:

Anthony Wayne _ Kings Local
Bath Local Lake/Geanga

Northwest Local #1

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Ontario-Montclair Elementary
Schoo} District

. 190 Croton Avenus

Ossining, NY 10562-4599
Fran Collins .
Supervisor of ‘Transportation
(914) 941-7700

Total Students: N/A”

Square Miles: N/A

Implemented: N/A.

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Ottawa Board of Education
Lyon Street

Ottawa, ON K1S 5G7

CANADA
Mike Paquette

Computer Technician

(613) 239-2204

Total Students: 30,000

Square Miles: NIA
Implemented: 1991

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Paramus Board of Education
_ 145 Spring Valley Road ,
Paramus, NJ 07652
Jerome Bohnert
_ ‘Business Manager
(201) 261-7800
- Total Students: N/A. -
" Iouplemented: 1986

Parloray School District

455 North Woods Mill Road

Chesterfield, MO 63017
Alfred F. Hedrick
Manager of Transportation
(314) 851-8210

Total Students: 20,000

Square Miles: 68

Implemented: 1986

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Pasadena Independent School District
1515 Cherrybrook Road
Pasadena, TX 77502

"4004 North 16th Avenne

Pasco, WA 99301-4098
Zeny Myers
‘Transportation Secretary
(509) 547-2510

Total Students: N/A
Square Miles: N/A
Implemented: N/A

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"Pearl River School District

Guy M. Cahill
. Director of Finance/Opera'
(309) 346-7276 ==
Total Students; 4,200 ot
Miles: 100

Implemented: 1989

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Hal

Penn-Harris-Madison School Corporation
55910 Bittersweet Road
Mishawaka, IN’ 46544
Dave Rowe
Director of Transportation
(219) 259-7941
Total Students: 7,200
Square. Miles: 150
Implemented: 1989

_ Transportation Director
(614) 833-2110

Total Students: 3,800

Square Miles: N/A
Implemented: N/A

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Pleasanton Unified School District

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au
Poway Unified School District Randolph Township Schools
13626 Twin Peaks Road School House Road
Poway, CA. 92064-3098 Randolph, NJ 07869
Tom Harold
i of rtation. Supervisor -
619) 748-7370 ext. 310 (908) 361-9410
Total Students: 21,100 Total Students:
Square Miles: 1 .» Square Miles: NA oat
Implemented: 1989 Implemented: NA
Prince William County Public Schools Ravenna City School District
44300 Joplin Road 507 East Main Street
VA 22110 Ravenna, OF 44266
Charies A. M Ron snowberget
Supervisor, Real Property & Business Manager
isk (216) 296-7159
(703) 791-7312 Total Students: N/A
Total Students: Square Miles: N/A
Square Miles: 350 Implemented: N/A.
Implemented: 1989
. Redlands Unified School District
Public Schools #172 956 Citrus Ave.
121 North 20th - Redlands, CA 97373-0302 -
Quincy, IL ‘i  BobDeGlacomo
Chuck Radel of Trensportation
Director of Transportation (714) 798-3967 .
(217) 224-5910 Total Students: 15,900
Total Students: 7, Square Miles:. .
Square Miles;, 100 Tmplemented: 1990 ~
Implemented: 1990
Renton School District #403
Racine School District 435 Main Avenue South
7720 Northwestern Avenue Renton, WA 98055
Racine, WI 53404 Deems
Sharon Mack on Dispatcher.
Director of Transportation (206) 235-5813
(414) 631-6998 Total Students: 12,
Total Students: 23, Square Miles: 3
Square Miles: 1 Implemented: 1988

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38
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He

_River Falls School District

(313) 651-4040
Total Students: 11,000
Square Miles: NIA
Implemented: 1990

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Rockdale County Public Schools
945 North Main Street
Conyers, GA 30207-4480
Benson Plunkett
Director of Transportation

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CONFIDENTIAL). Page 39

‘Total Students: 6,500

“wy

Rocky River City Schools

21600 Center Ridge Road .

Rocky River, O8 44116
R.W. Zinser ©

Transportation
(612) 635-1600 ext. 235

" Square Miles: N/A

Implemented: N/A

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Sacramento City Unified School District
3101 Redding Avenus
Sacramento, CA 95820
John Haycox
Director of Transportation
(916) 454-6705
Total Students: 49,200
Square Miles: 67 "

St. Johns County School Board
30 Crookshank Drive.
St. Augustine, FL 32084
Duanne Fisher
Dir. of Transportation
(904) 829-0607
Total Students: N/A,
Square Miles: N/A
Implemented: N/A

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James D. Allem ext. 253

Salden Bus Service (Chaska)

Chaska, MN 55318

(T14) 387-4333
Total Students: 5,000
Square Miles: 24,000

- Implemented: 1988

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Data Processing

(805) 543-2010 ext. 1216
Total Students: NA

Square Miles: N/A
Implemented: N/A’

San Mateo City School District —
300 28th Avenue
San Mateo, CA. 94403

Richard J. Dameliao

Superintendent
. (415) 312-7711
Total Students: 8,800
Square Miles: 85
Implemented: 1990

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Santa Ana Unified School District
1405 French Street
Santa Ana, CA 92701-2499

Dr. Anthony Dalessi

_ (602) 852-2443

- Total Students: 20,000

Miles: N/A
Implemented: 1990

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*  EDULOG— Complete User List CONFIDENTIAL
Seminole County School Board Sioux Falls School District #49-5
1211 Avenue 201 Bast 36th Street =
Sanford, FL 32771 Sioux Falls, SD 57117
Randy Johns . Jerry Mayer
1 of Data Processing Coordinator of Student Services
(407) 322-1252 ext. 310 (605) 331-7900
Total Students: 45,000 Total Students: 15,100
Square Miles: NIA ” . Square Miles: N/A
Implemented: 1990 Implemented: 1991
Shaler Area School District Central School District
1800 Mt. Royal Bivd. 26 New York Avenue
Glenshaw, PA 15116 Smithtown, 11787
Lois Condie George Kerst
Supervisor Supervisor
(412) 492-1210 (516) 361-2667
Total Students: Total Students:
Square Miles: N/A Square Miles: N/A.
Implemented: N/A Implemented: 1989
Sheboygan Area School District South Branswick School District
clo Longfellow Blementary. _ 1 Executive Drive
1315 Sonth 9th Street . Monmouth, NJ 08852
WI 53081 Sandra Kowalsky
Bill Walter Coordinator
Transportation Coordinator (908) 297-7800
(414) 459-3581 | _ Total Students: 4,100
- “Total Students: 8,700 . ++ Square Miles: WA Te
00 oo esplement :1988 CL newegens
Implemented: 1990 . . ° .
South Euclid-Lyndhurst .
Sheffield-Sheffield Lake City 5044 Mayfield Road
1824 Harris Road - + Lyndhmrst, OF 44124
Sheffield, OH. 44054 Stan Kohn
- Dr. Donald Chiavetta Transportation Director
Superintendent (2:16) 691-2000 .
(216) 949-4202 Total Students: N/A.
Total Students: NA Square Miles: N/A
Square Miles: N/A Implemented: N/A
Implemented: N/A

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South Orangetown Central School District Southwestern City School District
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Grove City, OH 43123
Mike Cahill -"

Director of Transportation
(614) 875-2318 ext. 370
Total Students: 17,000

Licking Local School District:
195 North 5th Street
Kirkersville, OH. 43033

Coordinator
(717) 225-4758

Total Students: 4,000

Square Miles: 97

Implemented: 1991

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EDULOG— Complete User List CONFIDENTIAL Page 44 |
Spring Independent School District s eld Local School District
‘Transportation Department 6900 Hall Street
24037 Hardy Road Holland, OH. 43528
Spring, TX T1373 Robert Moellenberg
Marcia Edge Treasurer
Director of (419) 866-2400
(713) 353-2332 Total Students:
Total Students: 17, Square Miles: NIA
Square Miles: Implemented: NIA
Springfield Public Schools
Springboro | Schools 195 State
(Clearcreek Local School District) i MA 01103
_ 70S South Main Street Peter Hogan
Springboro, OH 45066 Director of Transportation
George Mourouzis (413) 781-1153
Director of Operations & Maintenance Total Students: 23,000
(513) 7148-3955 Square Miles: N/A
Total Students: _ Inpplemented: 1990
Square Miles: N/A sO
Implemented: N/A Stillwater LS.D. #834
1875 South Greeley Street
Ss City of : . Stillwates,. 55082
225 Fifth Street . Mike Brabender
Spingfield, OR 971471 tion,
Leitha Zeller (612) 439-7877
Co Applications Specialist Total Students:
(503) 726-3614 . Square Miles: A.
Total Students: Implemented: 1990
Miles: N/A. ,
Implemented: NIA Stow City Schools
. 1819 Graham
Stow, OH 44224
Michael Workman
Transportation Supervisor
216) 673-6550
Total Students: N/A
Square Miles: NA
Implemented: 1989

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Paga 45 lon
- * Strathcona County Board of Education Sycamore Community School District
2001 Drive 4881 Cooper Road a
Sherwood Park, AB T8A 3W7 Cincinnati, OH 45242
CANADA Melissa Shea’
Ralph Schien' Manager
Director of Planning & Data Services (513) 791-4848
403) 464-8111 Total Students: N/A.
Total Students: 12,000 Square Miles: N/A
Square Miles: A Implemented: NIA
Implemented: 1987
Tacoma Public Schools
Strongsville City Schools 4002 South Cedar Street
13200 Pearl Road Tacoma, WA. 98401-1357
Strongsville, OH 44136 Larry Skinner
Patsy Edwards Director of Transportation
Data Supervisor (206) 596-1855
(216) 238-2650 ext. 240 Total Students: 29,000
Total Students: N/A. Square Miles: N/A
Square Miles: WA - Implemented: 1989
Implemented, N/A
Thompson School District R2-J
Local Schools 535 Douglas Avenus
60 B. South Street Loveland,.CO 80537 °
Bellbrook, OH. 45305 Jim Atwood
SteveFryburg = Planning Department
‘Trmsportation Coot. (303) 669-3940
(513) 848-4029 Total Students: 1
Total Students: N/A Square A.
Square Miles: NIA Implemented: 1986 -
Implemented: N/A
, TIES Training Center
Sumner County Schools 1925 West County Road B2
Bast Main Street , MN 55113
Gallatin, TN 37066 Janet Hennekens
Larry Riggsbee Services Supervisor
Director of Pupil ‘Transportation (612) 638-2307
(615) 451-5200 , Total Students: N/A
Total Students: 19,600 ‘Square Miles: NIA
Square Miles: N/A _ Implemented: N/A
Implemented: 1991 .
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EDULOG—Complete User List

_ (601) 841-8858
Total Students: 6,000

ON

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Mark Rule’
Transportation Department
(419) 475-8153
Total Students: N/A
Square Miles: N/A
Implemented: N/A

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Total Students: §,000

Square Miles: 150
Implemented: 1990

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“Total Students: NIA

Square Miles: N/A

_ Implemented: N/A

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